Appellate Case: 23-8065                                         Document: 010111016871                         Date Filed: 03/15/2024                Page: 1
                                                               UNITED STATES COURT OF APPEALS
                                                                        TENTH CIRCUIT
                                                                          Byron White United States Courthouse
                                                                                   1823 Stout Street
                                                                                Denver, Colorado 80257
                                                                                    (303) 844-3157

                                           Oral Argument Calendar Notice / Acknowledgment Form

                                                   Sylvia May Mailman
 Name:
                                                   Independent Women’s Law Center; 1802 Vernon St. NW, Suite 1027
 Address:
                                                   Washington, D.C. 20009
 City, State, Zip Code:
                                                   (202) 807-9986                                            (785) 447-0436
 Telephone:                                                                                   Cell Phone:
                                                   may.mailman@iwlc.org
 Email Address:
                                                   23-8065
 Re:             Case No(s):
                                                   Westenbroek, et al. v. Kappa Kappa Gamma, et al.
                 Caption:
                                                   May 14, 2024
                 Argument Date:

                 Argument Time: 09:00 a.m.                                              (Arguing attorneys must report 45 minutes prior thereto)

                 Courtroom/Place: Courtroom I - Denver, CO

 I acknowledge receipt of the court’s calendar notice assigning the subject case(s) for:
 Oral argument to be held in person before the court.

       I am substitute counsel who will appear in place of                                                               , who previously filed an
       acknowledgment form.

 ✔ I am appearing on behalf of:                                                Other counsel will appear on behalf of:
  Jaylyn Westenbroek, Hannah Holtmeier, Allison Coghan, Grace Choate, Madeline Ramar,

                                                                                                             (name of party) the Appellant.
  and Megan Kosar, on behalf of themselves and derivatively on behalf of Kappa Kappa
  Gamma Fraternity




                 Signed (Recipient)
                                                                    3/15/2024
                 Date

 PLEASE NOTE:
 If you have not previously registered as an ECF filer and have not filed an entry of appearance form in the
 referenced appeal, you must do both before filing this acknowledgment form.

 This form must be completed and electronically returned through ECF by the arguing attorney in the appeal set
 within ten days. Counsel for amicus/amici curiae do not present oral argument without written permission by the
 court.

 When filing the Calendar Acknowledgment Form in ECF, please read instructions. Do not deselect attorneys who
 have already filed their form unless it is a one-for-one substitution representing the same party.

 The Custody Status Form must be filed by counsel for the defendant in a direct criminal appeal (including
 interlocutory appeals, regardless of which party filed the appeal), counsel for the petitioner in a habeas corpus or
 immigration appeal, or counsel for any appellant or appellee who is in custody in any other appeal. This form must
 be filed even if the case has been submitted on the briefs. If the party is pro se, the form need not be submitted.

 Questions may be directed to the 10th Circuit Calendar Team at 303.335.2708 or contact by email
 at 10th_Circuit_Calteam@ca10.uscourts.gov.                                                                                                  Rev. 11/2023
